      Case 3:17-cr-00236-M            Document 45          Filed 08/22/17           Page 1 of 1      PageID 167
                                   IN THE UNITED STATES DISTRICT COURT '                           U> Di' '; •'
                                   FOR THE NORTHERN DISTRICT OF TEXAS                       NGRTHER\1 Jl!~, iRlCT Of TEXAS
                                             DALLAS DIVISION                                             FILED
                                                                                                  r-----·------·-·····
UNITED STATES OF AMERICA                                     )                                        AUG 2 2 ?~17
                                                             )
vs.                                                          )
                                                             )
PATRICK EARL MOODY, JR.,                                    )
          Defendant.
                                      REPORT AND RECOMMENDATION
                                       CONCERNING PLEA OF GUILTY

         PATRICK EARL MOODY, JR., by consent, underauthorityofUnited States v. Dees, 125 F.3d 261 (5 1hCir.
1997), has appeared before me pursuant to Fed. R. Crim.P. II, and has entered a plea of guilty to Count 2 of the
superseding Indictment. After cautioning and examining PATRICK EARL MOODY, JR. under oath concerning
each of the subjects mentioned in Rule II, I determined that the guilty plea was knowledgeable and voluntary and that
the offense(s) charged is supported by an independent basis in fact containing each of the essential elements of such
offense. I therefore recommend that the plea of guilty be accepted, and that PATRICK EARL MOODY, JR. be
adjudged guilty of Count 2 of the superseding Indictment, that is, Possession of a Firearm by a User of a
Controlled Substance, a violation of 18 U.S.C. §§ 922(g)(3) and 924(a)(2), and have sentence imposed accordingly.
After being found guilty of the offense by the district judge,




~The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(l) unless the Court finds by clear
        and convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
        community if released.

        ~·he Government does not oppose release.
        QJ/ flhe defendant has been compliant with the current conditions of release.
        W        I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
                 other person or the community if released and should therefore be released under § 3142(b) or (c).

        0       The Government opposes release.
        0       The defendant has not been compliant with the conditions of release.
        0       If the Court accepts this recommendation, this matter should be set for hearing upon motion ofthe
                Government.

0       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (l)(a) the Court finds there
        is a substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
        recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstanc                   early
        shown under § 3145(c) why the defendant should not be detained, and (2) the Court fin by clea and
        convincing evidence that the defendant is not likely        flee       se a danger to any othe              the
        community ifreleased.                                                   r
        Date:   August 22, 2017.




                                                       NOTICE

          Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date
of its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b)(l)(B).
